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                                  UNITED STATES DISTRICT COURT​
                                   MIDDLE DISTRICT OF FLORIDA
  Danesh Noshirvan

  V.​     ​       ​       ​       ​       ​        ​       ​        ​      ​       ​        2:23-cv-01218

  Jennifer Couture, et al,
  ___________________________________________________________________________

   NOTICE OF DIVESTITURE OF JURISDICTION AND REQUEST TO STRIKE MAGISTRATE
      JUDGE’S DECISION TO DENY MOVANT’S MOTIONS TO QUASH (DOCKET 314)

  Movants John Doe and John Doe 2 hereby respectfully notify this Honorable Court that
  jurisdiction over any pending matters before Magistrate Judge Kyle Dudek was divested
  immediately upon the filing of their Notices of Appeal (which Magistrate Dudek or his clerk
  did not immediately docket, instead improperly waiting until after the written order (314)
  which would have immediately taken jurisdiction from the Magistrate pending the Notices
  of Appeal) and Emergency Petition for Writ of Mandamus (ditto to the Notices of Appeal
  parenthesis) with the United States Court of Appeals for the Eleventh Circuit. Accordingly, any
  subsequent written decisions issued by the Magistrate Judge—including but not limited to ruling
  on the pending Motions to Quash (Docket: 317)—are without jurisdiction and thus void or
  voidable.

  I. DIVESTITURE OF JURISDICTION UPON NOTICE OF APPEAL

  It is well-settled that “[t]he filing of a notice of appeal is an event of jurisdictional significance—it
  confers jurisdiction on the court of appeals and divests the district court of its control over those
  aspects of the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S.
  56, 58 (1982); United States v. Hitchmon, 602 F.2d 689, 692 (5th Cir. 1979) (en banc).

  Here, Movants filed a notice of appeal and a petition for writ of mandamus concerning the exact
  matters addressed by the Magistrate Judge’s subsequent written ruling. This includes, inter alia,
  issues surrounding the improper disclosure of confidential VPN and metadata in open court,
  before any final written ruling on the Motions to Quash was rendered. Once these matters
  were placed before the Eleventh Circuit, the Magistrate Judge no longer retained jurisdiction to
  enter a substantive ruling.

  II. REQUEST TO STRIKE WRITTEN ORDER ISSUED WITHOUT
  JURISDICTION

  Because the written order was entered after the case had been removed to the jurisdiction of
  the appellate court via the mandamus application and notice of appeal, the Magistrate Judge’s
  decision is ultra vires and must be stricken. See Marrese v. American Academy of Orthopaedic
  Surgeons, 470 U.S. 373, 379 (1985) (actions outside a court's jurisdiction are invalid); Doe v.
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  Public Citizen, 749 F.3d 246, 258 (4th Cir. 2014) (district court loses jurisdiction when appeal
  concerns the same issue).

  III. SUGGESTION OF IMPROPER INFLUENCE ON MAGISTRATE JUDGE

  Moreover, Movants respectfully request that this Court order a preliminary inquiry into whether
  the Magistrate Judge’s rulings were influenced by extrajudicial statements made by Plaintiff
  Danesh Noshirvan. As outlined in the pending Motions to Quash, Mr. Noshirvan made
  repeated public and veiled statements implying that Defendants had engaged in bribery or other
  forms of improper judicial influence—statements made in close temporal proximity to the court’s
  oral and illegal written proceedings. By doing so, and then sharply favoring Plaintiff in proximity
  to the allegations of corruption, it can be assumed that Magistrate Judge Dudek desires not to
  be a arbiter of justice, but a defender of his own reputation

  While the Court may ultimately find these comments irrelevant or speculative, Movants believe
  that any proceeding involving the appearance of impropriety, bias, or undue influence demands
  scrutiny. See Liljeberg v. Health Services Acquisition Corp., 486 U.S. 847 (1988) (emphasizing
  need for appearance of impartiality); 28 U.S.C. § 455(a) (“Any…magistrate judge…shall
  disqualify himself in any proceeding in which his impartiality might reasonably be questioned.”).

  IV. PRAYER FOR RELIEF

  WHEREFORE, Movants respectfully request that this Court:

     1.​ STRIKE any post-appeal written decisions or orders issued by the Magistrate Judge as
         issued without jurisdiction;​

     2.​ STAY any enforcement of such rulings pending further appellate review;​

     3.​ INITIATE AN INQUIRY into whether Magistrate Judge Dudek was improperly influenced,
         directly or indirectly, by Plaintiff Danesh Noshirvan’s repeated extrajudicial and
         potentially defamatory remarks; and​

     4.​ GRANT such other and further relief as the Court deems just and proper.

  John Doe and John Doe 2
